                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             ST. JOSEPH DIVISION


UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
vs.                                      )       Case No. 18-6028-CV-SJ-ODS
                                         )
REAL PROPERTY LOCATED AT                 )
6513 RIDGE ROAD, PARKVILLE,              )
MISSOURI, 64152, ALONG WITH              )
ALL ITS BUILDINGS,                       )
APPURTENANCES, AND                       )
IMPROVEMENTS, et al.,                    )
                                         )
                     Defendant.          )

                             ORDER TO SEAL DOCUMENTS
      Pending is Plaintiff United States of America’s Motion to Seal. Doc. #1. Upon
consideration of the motion and suggestions in support, it is:
      ORDERED, ADJUDGED AND DECREED that the United States is permitted to
file the following documents under seal, except as to employees, contract employees,
and agents of the United States Attorney’s Office for the Western District of Missouri,
and any law enforcement officers involved in the investigation, including but not limited
to Internal Revenue Service – Criminal Investigations (IRS-CI) and United States Secret
Service (USSS) or their officers, agents, employees, or contractors:
      1.      Complaint for Forfeiture in Rem and redacted copy thereof;
      2.      Any Lis Pendens or notice of Lis Pendens as to the parcels of real
              property listed in the caption above;
      3.      United States’ Ex Parte Motion for Entry of a Post-Complaint Restraining
              Order, With Suggestions in Support;
      4.      Proposed Restraining Order;
      5.      This Motion to Seal; and
      6.      Any Notice of Warrant, Restraining Order or Injunction issued by this
              Court, and Lis Pendens or Notice of Lis Pendens.



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(collectively, the “Documents”).
       However, this Order shall not preclude disclosure of the Documents by
employees, contract employees, and agents of the United States Attorney’s Office for
the Western District of Missouri, law enforcement officers involved in the investigation,
including but not limited to the IRS-CI or USSS their officers, agents, employees, or
contractors, as necessary to:
       1.      comply with Orders of this Court;
       2.      record Lis Pendens with the appropriate registry of deeds;
       3.      serve any Lis Pendens or Notice of Lis Pendens, Complaint, Notice of
Complaint, and other documents, on the owners of record for the affected properties
and any other person or entity who may have an interest in the property, and to provide
notice of the civil forfeiture of property as provided by 18 U.S.C. § 983 and of real
property as provided by 18 U.S.C. § 985; and
       4.      serve the post-Complaint restraining or injunctive orders upon the owners
of the real property and accounts specified in the Complaint for Forfeiture In Rem and
serve or otherwise provide notice of the post-Complaint restraining or injunctive Orders
to the persons or entities named in the Order and any other persons or entities as to
whom the provision of notice would be appropriate.
       The Court directs Plaintiff to file a motion to unseal the matter once Plaintiff has
served the Complaint and the Restraining Order on the potential claimants.


IT IS SO ORDERED.
                                                   /s/ Ortrie D. Smith
DATE: March 5, 2018                                ORTRIE D. SMITH, SENIOR JUDGE
                                                   UNITED STATES DISTRICT COURT




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